           Case: 1:18-cr-00478 Document #: 1 Filed: 08/07/18 Page 1 of 6 PageID #:1            w
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                BRUTON                  EASTERN DIVISION
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                                                           18CR 47 8
                                               )

     UNITED STATES oF           AMERICA ))         NO.


                                         )         Violations: fitle 26, United States
                     v.
                                         )         Code, Sections 7206(l) and7206(2)
                                               )                     ,JUOGE CTIANG
     QUAN SHUN CHEN
                                                               MABSTRATE JUDSE CIILE
                                           COI.]IVT ONE

             The SPECIAL       ruNE   2018 GRAND   ruRY   charges:

             On or about May 6, 2OLL,in the Northern District of Illinois, Eastern Division,

                                        QUA}I SHUN CHEN,

   defendant herein, willfully made and subscribed, and caused to be made and

   subscribed, a U.S. Corporate Income Tax Return for Hunan Spring, Inc. (Form 1120

   with schedules and attachments), for the fiscal year beginning March 1,20L2 and
   ending February 28,2013, which return was verified by a written declaration that       it
   was made under penalties of perjury and was filed with the Internal Revenue

   Service, which return he did not believe to be true and correct as to every material

   matter, in that said return reported on Line 1a that gross receipts were $433,973,

   when defendant knew that gross receipts substantially exceeded that amount;

             In violation of Title 26, United States Code, Section 7206(L).
      Case: 1:18-cr-00478 Document #: 1 Filed: 08/07/18 Page 2 of 6 PageID #:2




                                   COUIYT TWO

      The SPECIAL JUNE 2018 GRAND JURY charges:

      On or about May 8, 2014, in the Northern District of Illinois, Eastern Division,

                               QUAN SHUN CHEN,

defendant herein, willfully made and subscribed, and caused to be made and

subscribed, a U.S. Corporate Income Tax Return for Hunan Spring, Inc. (Form tL20

with schedules and attachments), for the fiscal year beginning March 1, 2013 and
ending February 28,20t4, which return was verified by a written declaration that    it
was made under penalties of perjury and was filed with the Internal Revenue

Service, which return he did not believe to be true and correct as to every material

matter, in that said return reported on Line la that gross receipts were $515,592,

when defendant knew that gross receipts substantially exceeded that amount;

      In violation of Title 26, United States Code, Section 7206(c).
      Case: 1:18-cr-00478 Document #: 1 Filed: 08/07/18 Page 3 of 6 PageID #:3




                                  COI,JI\TT   THREE

      The SPECIAL JUNE 2018 GRAND JURY charges:

      On or about June l, 2015, in the Northern District of Illinois, Eastern



                               QUAN SHUN CHEN,

defendant herein, willfully made and subscribed, and caused to be made and

subscribed, a U.S. Corporate Income Tax Return for Hunan Spring, Inc. (Form      tl2}
with schedules and attachments), for the fiscal year beginning March 1,20L4 and
ending February 28,2015, which return was verified by a written declaration that   it
was made under penalties of perjury and was filed with the Internal Revenue

Service, which return he did not believe to be true and correct as to every material

matter, in that said return reported on Line 1a that gross receipts were $635,044,

when defendant knew that gross receipts substantially exceeded that amount;

      In violation of Title 26, United States Code, Section 7206(l).
      Case: 1:18-cr-00478 Document #: 1 Filed: 08/07/18 Page 4 of 6 PageID #:4




                                  COTJIYT FOI.IR

      The SPECIAL JUNE 2018 GRAND          ruRY   charges:

      On or about July 26, 20t6, in the Northern District of Illinois, Eastern

Division,

                               QUAI.I SHUN CHEN,

defendant herein, willfully made and subscribed, and caused to be made and

subscribed, a U.S. Corporate Income Tax Return for Hunan Spring, Inc. (Form LL20

with schedules and attachments), for the fiscal year beginning March 1, 2015 and

ending February 28,20t6, which return was verified by a written declaration that   it
was made under penalties of perjury and was fiIed with the Internal Revenue

Senrice, which return he did not believe to be true and correct as to every material

matter, in that said return reported on Line 1a that gross receipts were $157,740,

when defendant knew that gross receipts substantially exceeded that amount;

      In violation of Title 26, United States Code, Section 7206(l).
      Case: 1:18-cr-00478 Document #: 1 Filed: 08/07/18 Page 5 of 6 PageID #:5




                                   COUIYT FT\M

      The SPECIAL JUNE 2018 GRAND JURY charges:

      On or about October 10, 2016, in the Northern District of Illinois, Eastern

Division,

                               QUAN SHUN CHEN,

defendant herein, willfully made and subscribed, and caused to be made and

subscribed, a U.S. Corporate Income Tax Return for Hunan Spring Restaurant, Inc.

(Form Lt20 with schedules and attachments), for the calendar year 2015, which

return was verified by a written declaration that it was made under penalties of

perjury and was filed with the Internal Revenue Service, which return he did not

believe to be true and correct as to every material matter,      in that said return
reported on Line 1a that gross receipts were $422,624, when defendant knew that

gross receipts substantially exceeded that amount;

      In violation of Title 26, United States Code, Section 7206(1).
      Case: 1:18-cr-00478 Document #: 1 Filed: 08/07/18 Page 6 of 6 PageID #:6




                                    COI.JI{T SD(

      The SPECIAL JUNE 2018 GRAIID JURY charges:

      On or about November 6, 20t7, in the Northern District of Illinois, Eastern

Division,

                               QUAN SHI.IN CHEN,

defendant herein, willfully aided and assisted     in, and procured, counseled and
advised the preparation and presentation, under and in connection with any matter

arising under the internal revenue laws, of a U.S. Corporate Income Tax Return for

Hunan Spring Restaurant, Inc. (Form 1120 with schedules and attachments), for the

calendar year 201"6, which return was fraudulent and false as to a material matter,

in that said return reported on Line 1a that    gross receipts were $995,498, when

defendant knew that gross receipts substantially exceeded that amount;

      In violation of Title 26, United States Code, Section 7206(2).

                                              A TRUE BILL:




                                              FOREPERSON




UNITED STATES ATTORNEY
